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11                                           Counsel for Plaintiffs

12
                               UNITED STATES DISTRICT COURT
13                           NORTHERN DISTRICT OF CALIFORNIA
                                    OAKLAND DIVISION
14
                                                           Case No. 4:25-cv-1824-JTS
15   SAN FRANCISCO AIDS FOUNDATION, et
     al.;                                                  [PROPOSED] ORDER GRANTING
16                                                         PLAINTIFFS’ MOTION FOR
                                     Plaintiffs,           PRELIMINARY INJUNCTION AND
17                                                         MEMORANDUM OF POINTS AND
           v.                                              AUTHORITIES
18   DONALD J. TRUMP, in his official capacity as
       President of the United States, et al.              Date: Thursday, May 22, 2025
19                                                         Time: 2:00 pm PDT
                                                           Dept.: Oakland
20                                   Defendants.

21                                                         Trial Date: None Set

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          [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY
                       INJUNCTION, CASE NO. 4:25-cv-01824-JST
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 1           Upon due consideration of Plaintiffs’ Motion for Preliminary Injunction, and all briefing
 2   papers filed in connection therewith, and with the benefit of oral argument, the Court hereby finds
 3   there is good cause to GRANT the motion.
 4           The Court may issue a preliminary injunction when a plaintiff establishes that “he is likely
 5   to succeed on the merits, that he is likely to suffer irreparable harm in the absence of preliminary
 6   relief, that the balance of equities tips in his favor, and that an injunction is in the public interest.”
 7   Winter v. Natural Resources Defense Council, Inc., 555 U.S. 7, 20 (2008); see also Alliance for the
 8   Wild Rockies v. Cottrell, 632 F.3d 1127, 1131-35 (9th Cir. 2011). The Court finds that Plaintiffs
 9   have carried their burden to satisfy each of those factors and that immediate relief is appropriate.
10           Therefore, the Court hereby ORDERS that Plaintiffs’ Motion for a Preliminary Injunction
11   is GRANTED and issues the following preliminary injunction with immediate effect:
12           1. Agency Defendants1 are hereby ENJOINED from enforcing Executive Order No. 14168
13               against Plaintiffs. Specifically, Defendants shall not:
14                   a. Condition or withhold any federal funding or contract eligibility on Plaintiffs’
15                       compliance with Executive Order No. 14168;
16                   b. Open or conduct any investigation of any Plaintiff with regard to compliance with
17                       Executive Order No. 14168;
18                   c. Terminate or modify existing governmental contracts with or grants to Plaintiffs
19                       for purported non-compliance with:
20                          i. Any provision of Executive Order No. 14168,
21                         ii. Any agency action taken to implement Executive Order No. 14168, or
22                        iii. Any term of a contract or grant imposed to implement Executive Order No.
23                             14168;
24

25   1 Defendants DOJ; Attorney General Pamela Bondi; DOL; Acting Labor Secretary Vince

26   Micone; OFCCP; Acting OFCCP Director Michael Schloss; OMB; OMB Director Russell
     Vought; HHS; HHS Secretary Robert K. Kennedy, Jr.; HUD; HUD Secretary Scott Turner;
27   NARA; Deputy Archivist William J. Bosanko; NEH; and NEH Chair Shelly C. Lowe are referred
     to collectively as the “Agency Defendants.”
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                                                        -2-
           [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY
                        INJUNCTION, CASE NO. 4:25-cv-01824-JST
     Case 4:25-cv-01824-JST       Document 47-12         Filed 03/03/25       Page 3 of 4



 1                d. Take any other action against Plaintiffs, whether or not listed above, intended to
 2                    effectuate or enforce:
 3                       i. Any provision of Executive Order No. 14168,
 4                      ii. Any agency action taken to implement Executive Order No. 14168, or
 5                     iii. Any term of a contract or grant imposed to implement Executive Order No.
 6                          14168.
 7         2. Defendants are hereby ENJOINED from enforcing Executive Order Nos. 14151 and
 8            14173 against Plaintiffs. Specifically, Defendants shall not:
 9                a. Condition or withhold any federal funding or contract eligibility on Plaintiffs’
10                    compliance with Executive Order Nos. 14151 and 14173;
11                b. Open or conduct any investigation of any Plaintiff with regard to compliance with
12                    Executive Order Nos. 14151 and 14173;
13                c. Terminate or modify existing governmental contracts with or grants to Plaintiffs
14                    for purported non-compliance with:
15                       i. Any provision of Executive Order Nos. 14151 and 14173,
16                      ii. Any agency action taken to implement Executive Order Nos. 14151 and
17                          14173, or
18                     iii. Any term of a contract or grant imposed to implement Executive Order Nos.
19                          14151 and 14173;
20                d. Take any other action against Plaintiffs, whether or not listed above, intended to
21                    effectuate or enforce:
22                       i. Any provision of Executive Order Nos. 14151 and 14173,
23                      ii. Any agency action taken to implement Executive Order Nos. 14151 and
24                          14173, or
25                     iii. Any term of a contract or grant imposed to implement Executive Order Nos.
26                          14151 and 14173.
27         3. This injunction shall take effect immediately.
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          [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY
                       INJUNCTION, CASE NO. 4:25-cv-01824-JST
     Case 4:25-cv-01824-JST         Document 47-12          Filed 03/03/25      Page 4 of 4



 1          4. This injunction shall apply to all Agency Defendants as well as any subagencies of Agency
 2              Defendants and any officers, agents, servants, employees, or attorneys of Agency
 3              Defendants or any of their subagencies. This injunction shall further apply to any other
 4              persons who are in active concert or participation with Agency Defendants or Agency
 5              Defendants’ officers, agents, servants, employees, and attorneys. Fed. R. Civ. P. 65(d)(2).
 6          5. The Court’s reasons for issuing this injunction are set forth in a forthcoming opinion, as
 7              well as in the transcript of the proceedings held before the Court on _______________,
 8              2025. Fed. R. Civ. P. 65(d)(1)(A).
 9          6. This injunction shall remain in effect until further order of the Court.
10          IT IS SO ORDERED.
11   Dated this ____th of __________, 2025.
12
                                                                HON. JUDGE JON S. TIGAR
13                                                              UNITED STATES DISTRICT JUDGE

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          [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY
                       INJUNCTION, CASE NO. 4:25-cv-01824-JST
